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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

UNITED STATES OF AMERICA §
v. § Criminal Case No. 05-394 (RBW)
LEWIS LIBBY, §
Defendant. §
)
QBM*?_R

On April 20, 2010, the defendant, Lewis Libby, proceeding Lo_§, requested that the
Court return to him property purportedly belonging to him that was allegedly seized by the
government w Motion for Return of Property Under Rule 4lG (“Def.’s l\/Iot.”) at l.
Specifically, the defendant seeks the return of the following items: (l) a Swatch watch, (2) all
blogs and related material to Jonathan Lee Riches, (3) a copy of the indictment belonging to
Riches (Case No. h-03-90), (4) a signed autograph by Riches, and (5) the manuscript on the
investigation and incarceration of Riches. ld_. Since the filing of this motion, over seven years
has passed, and the defendant has not further pursued this motion as a means to recover this
property allegedly seized by the govemment.1 Accordingly, given the significant amount of time
that has lapsed since the filing of his motion, it is hereby

ORDERED that the parties, on or before October 31, 2017, shall SHOW CAUSE in
writing as to the defendant’s motion should not be denied as moot. lt is further

ORDERED that the Clerk of the Court shall send a copy of this Order forthwith to the

defendant, using the'information below, which was obtained from his motion.

 

' The Court also notes that the government did not file a response to the defendant’s motion.

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I. Lewis Libby
P.O. Box 31782
Baltimore, MD 21207-8782

SO ORDERED this lOth day of GCtober, 2017.

n

/

REG B. WALTON
United States District Judge

